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CIVIL NON-JURY TRIAL OR MOTION HEARING

 

 

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MATTER COMES ON FOR BENCl-ITRIAL( ) MOTION H’EARING( )O'lHER:

 

 

APPEARANCES; Paniesby( )xwim( )counsei Pm se( ) ?Iamh¥r'g cwnsal/
MOTIONS BEFORE TRIAL: [V\Oh@m PB¢ W_p¢ms¢da_ rochon
TRIAL PROCEEDINGS:

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PLAINT|FF(S) ADDUCED EV\DENCE( )RESTED( )MOTION( )

 

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COURT FOUND IN FAVOR OF PLAlN'I`|FF(S) ( ) MONE'|`ARY AWARD $

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CLERK 'I`O ENTER JUDGMEN'I` ON DECISION( ) TR|AL EXI~HB|TS RETURNED TO COUNSEL( )
CASE CONTINUED UNTIL A'I` .M. FOR

ADDITIONAL NOTATlONS.
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